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Attorneys for defendant

                       UNITED STATES DISTRICT COURT
                            DISTRICT OF ALASKA


JENNIFER FLETCHER,                            Case No. 1:18-cv-00007-HRH

       Plaintiff,

v.

STATE OF ALASKA,

       Defendant.



     UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO
      PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND EXPENSES

       Pursuant to Local Rule 7.3(b), Defendant, State of Alaska (“State”) in coordination

with Plaintiff, Ms. Jennifer Fletcher, moves the Court for an order to extend the time

allowed under Local Rule 7.2(b)(1) to oppose or otherwise respond to Plaintiff’s Motion

for Attorney’s Fees and Expenses filed on August 28, 2020 (ECF Dkt. 71). The State

requests that its response to Fletcher’s motion be due on Monday, October 12, 2020.



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Fletcher requests that her reply to the State’s response be due on Monday, November 2,

2020.

        Good cause exists to grant this motion. Counsel for the State have been otherwise

occupied since the filing of Plaintiff’s motion either with previously scheduled projects or

working on other high priority complex legal issues. In order to fully review and

meaningfully respond to Plaintiff’s motion, the State requires more time than a holiday

shortened week. In addition, attorneys for both parties have upcoming hearings and

previously scheduled briefing deadlines throughout the months of September and

October. Finally, the parties contemplated allowing counsel 45 days to prepare initial

motions for costs and fees in the parties’ Stipulated Final Judgment (ECF Dkt. 68), thus

the parties’ original intention was to allow for a relaxed briefing period for any fees

motion following an anticipated appeal by the State. Consequently, allowing additional

time to respond to the fees motion is appropriate and in harmony with the parties’

intentions when they drafted the stipulated judgement.

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       Counsel for the State and Fletcher conferred regarding the extensions requested in

this motion and neither party will be prejudiced by this extension of time.

       DATED: September 9, 2020.
                                          CLYDE E. SNIFFEN, JR.
                                          ACTING ATTORNEY GENERAL

                                          By:    /s/William Milks
                                                 William Milks
                                                 Assistant Attorney General
                                                 Alaska Bar No. 0411094
                                                 Kevin Dilg
                                                 Assistant Attorney General
                                                 Alaska Bar No. 1406053

                                                 Attorneys for Defendant State of Alaska




                            CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2020, I electronically filed the foregoing and

all attachments with the Clerk of the Court by using the CM/ECF system, causing a copy

of the foregoing and all attachments to be served on all counsel of record.

Peter C. Renn                   Tara L. Borelli                 Eric Croft
LAMBDA LEGAL                    LAMBDA LEGAL                    THE CROFT LAW OFFICE
DEFENSE END                     DEFENSE END
EDUCATION FUND, INC.            EDUCATION FUND, INC.



                                                 /s/ Ivy Greever
                                                 Ivy Greever
                                                 Law Office Assistant I


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